Case 14-10979-CSS Doc 10300-1 Filed 12/02/16 Page1of2

Exhibit A

RLFI 16041299y.}
Case 14-10979-CSS Doc 10300-1 Filed 12/02/16 Page 2of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

Chapter 11
ENERGY FUTURE HOLDINGS CORP., et al., Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Nee Me ee ee ee ee ee”

ORDER SCHEDULING OMNIBUS HEARING DATE

Upon the Certification of Counsel Regarding Order Scheduling Omnibus Hearing Date,
dated December 2, 2016, and pursuant to Rule 2002-1{a) of the Local Rules of Bankruptcy Practice
and Procedure of the United States Bankruptcy Court for the District of Delaware, it is hereby

ORDERED, ADJUDGED AND DECREED THAT:

1. The following date and time has been scheduled as an omnibus hearing in the

above-captioned chapter 11 cases (the “Chapter 11 Cases”):

Date & Time Location
January 19, 2017 at 11:00 a.m. U.S. Bankruptcy Court for the District of
Delaware, 824 North Market Street, 5" Floor,
Courtroom 6, Wilmington, Delaware 19801
2, Additional omnibus hearings will occur thereafter in the Chapter 11 Cases as may
be scheduled by subsequent order of the Court.
3. All matters in the Chapter 11 Cases shall be set for and heard on the date scheduled

for an omnibus hearing unless alternative hearing dates are approved by the Court for good cause

shown.

RLF1 16041299v.1
